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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA

                   v.                                    Hon. Claire C. Cecchi

 MATTHEW BRENT GOETTSCHE,                                CRIMINAL NO. 1:19-cr-877-CCC
 [DEFENDANT TWO REDACTED],
 JOBADIAH SINCLAIR WEEKS,
 JOSEPH FRANK ABEL, and
 SILVIU CATALIN BALACI



                                     [PROPOSED] ORDER

       THIS MATTER, being before the Court upon Defendant Matthew Brent Goettsche,

(“Defendant”) by and through his attorneys, Kobre & Kim LLP and Smith Villazor LLP, for

entry of an Order granting Defendant’s Motion to Revoke Pretrial Detention Order and the

Court having reviewed the submission, and for good cause shown;

       IT IS on this            day of February, 2020,

       ORDERED that Defendant shall 1) be released on conditions established by the Court

and 2) fulfill the conditions of bail established by the Court.




                                                                  Honorable Judge Claire C. Cecchi
